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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.
 WILLIAM MADISON,

 Defendant.                                          No. 09-30026-DRH

                                       ORDER

 HERNDON, Chief Judge:

              Now before the Court is assistant Federal Public Defender, Dan Cronin’s

 motion to withdraw as counsel for Madison (Doc. 81). Based on the reasons stated

 in the motion, the Court GRANTS the motion to withdraw and APPOINTS attorney

 John Stobbs., 307 Henry Street, Suite 211, Alton, Illinois 62002 to represent

 Madison. Further, the Court also GRANTS Madison’s motion for extension of time

 to file a motion for new trial (Doc. 80). The Court ALLOWS Madison forty-five (45)

 days from the date of the jury verdict, July 14, 2009, to file a motion for new trial.

              IT IS SO ORDERED.

              Signed this 16th day of July, 2009.

                                               /s/     DavidRHer|do|
                                               Chief Judge
                                               United States District Court
